Case 1:23-cv-0O22@€FEFIDAVIY OBGERWECE1L5 Filed 04/18/23 Page 1 of 1
UNITED STATES DISTRICT COURT NI7GB149Q

SOUTHERN DISTRICT OF NEW YORK FILED ON: 3/17/2023 INDEX NO.: 1:23-CV-02267-LGS

 

NAVCAN.DC, INC. (PREVIOUSLY KNOWN AS CASCADE DIVIDE DATA CENTERS, Plaintiff(s)-Petitioner(s)
INC.) et. al.,

-VS-

FFREY RINDE AND CKR LAW LLP
HEETES Defendant(s)-Respondent(s)

 

STATE OF NEW YORK }
COUNTY OF SARATOGA ss.}

I, Mark McClosky being duly sworn, deposes and says that deponent is over the age of
eighteen years and is not a party in this proceeding and resides in the State of New York.

On APRIL 11, 2023 at 1:15 P.M.
Deponent served a true copy of SUMMONS IN A CIVIL ACTION, SUMMONS, COMPLAINT JURY TRIAL DEMANDED

bearing index number: 1:23-CV-02267-LGS and date of filing: 3/17/2023
upon CKR LAW, LLP

at address: SECRETARY OF STATE, 99 WASHINGTON AVENUE

city and state: ALBANY, NY 12231-0001

MANNER OF SERVICE}

Personal
O By delivering to and leaving with personally}
known to the deponent to be the same person mentioned and described in the above proceeding as the person to be served.
Suitable Age Person
Cy By delivering and leaving with personally}
at the premises which is recipient’s actual place of business/usual place of abode. Such person knowing the person to be served
and associated with him/her, and after conversing with him/her, deponent believes him/her to be a suitable age and discretion.
Authorised Agent
By delivering and leaving 2 copies with} AMY LESCH, BUSINESS DOCUMENT SPECIALIST
the agent for service on the person in this proceeding designated under rule '21-1502LLP_—_ and tendering the required fee.

Service having been made to such person at the place, date and time above.

Affixing to Door, Etc.
TC] By affixing a true copy of each to the door of the actual place of business, dwelling place or usual place of abode stated above.

Deponent was unable with due diligence to find the proper or authorized person to be served, or a person of suitable age and
discretion at the actual place of business, dwelling place or usual place of abode stated above after having called there on the
following dates and times:

 

Mailing
Deponent completed service by depositing a true copy of each in a postpaid, properly addressed envelope in an official depository
under the exclusive care and custody of the United States Postal Service. The package was labeled “Personal & Confidential”
and mailed to the person stated above at address
on . The envelope did not indicate on the outside that the communication was from an attorney or concerned an action
against the recipient. The envelope was mailed by_first class mail __certified mail__registered mail__return receipt requested.
Certified/Registered mail #

      
 

 

 

“Y
DESCRIPTION} deponent describes the person actually served as: ,
Sex: FEMALE Race/Skin Color: WHITE Hair Color: BLONDE
Approximate Age: 45 years Approximate Height: 5g” Approximate Weight: 160 ~
Other: /
Subscribed “f sworn sree on} APRIL 11, 2023

Conway & Conway .
Notary Public\State of New York 99 Part. Avenue, ah Floor Mark McClosky
Karen E. Rock New York, NY 10016 Deponent
Qualified in Schenectady County (212) 938-1080
Number 01R06065213
Expires: October 9, 2025
NLS #: 266213 FIRM FILE # 576192

Affidavit #: 23-2784
